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                             UN ITED STA TE S D ISTR ICT C O U R T
                             SOUTH ERN DISTRICT O F FLO RIDA

                              CaseNo.19-60200-CR-M O% NO/SELTZER(s)
                                         18U.S.C.5 1349
                                         18U.S.C.5 1347
                                         18U.S.C.5 1956(h)
                                         18U.S.C.j1957(a)                FILED BY                D.C .
                                         18 U.S.C.5 2
                                         18U.S.C.1 982(a)(1),(a)(7)             NCV
                                                                                      l# 2919
   U NITED STA TES O F A M ER ICA                                                M GELAE.NOBLE
                                                                                CLERKtJ.s.Dlsl GT.
                                                                               * D.oFFLA.-F'DI.AUD.
   VS.

   SEBA STIA N AH M ED ,

                         Defendant.
                                            /

                                 SU PER SE DIN G IN D IC TM EN T

          The G rand Jury chargesthat:

                                   G EN ER AL A LLE GA TIO N S

          Atalltimesrelevantto thisSuperseding Indictment:

                                 D rua and A lcoholR ehabilitation

                 In recentyears,South Floridahasbecom ethe locus for drug and alcoholaddicts

   seeking assistance in an effortto becom e and remain sober. Substanee abusetreatm enteenters

   thatassistsuch personsundergoing detoxitkation from an intoxicating oraddidive substanceare

   regulated understate and federallaw . These substance abuse treatm entcenters,ordetox centers,

   offera continuum ofcare including,from mostintensiveto leastintensive,asfollows:inpatient

   detox,PartialHospitalization Progrnms (PHP's),lntensive OutpatientProgrnms (lOP's),and
   OutpatientProgrnms(OP's). Personsundergoing treatmenton an out-patientbasis,whetherin
   PHP,IOP,or OP,typically electto live in a tlrecovery residence,''also know n as a ûksoberhom e''
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   or Clhalfw ay house,''w ith other persons w ho are also in treatm ent and com m itted to a dnlg and

   alcohol-free lifestyle.

                  Detox is m eant for individuals who are stilladdicted to and using controlled

   substances and/or aleohol. Detox fadlities a<e inpatientfaeilitieswhere patientsare assisted in

   dealing w ith the effects ofw ithdraw alfrom the com plete cessation ofusing drugsand/oralcohol.

   After successfully com pleting detox,patients receive treatm entfor their underlying addiction in

   the fonn of outpatient care,through PH PS,IOPs,and OPs. PHP,IOP,and OP patients attend

   facilities on an ongoing basis where treatm ent is rendered,generally in the form of therapy

   sessions. The distinction between the threeprogram srelatesto the am ountoftherapy time on a

   daily orw eekly basis,and patients generally transition from detox to PHP,then to IOP,and finally

   to OP asthey overcom etheiraddiction.

                  Privateinsurancecompanies,including BlueCrossBlue Shield (BCBS),United
   Health Care (UHC),Aetna,Humana,Cigna,and others,offerhealth care coveragedirectly to
   consum ers and through em ployers,including ERISA and nOn-ER ISA plans. These health plans

   covermedicaland clinicaltreatmentcostsofrehabilitation in accordance with thetermsoftheir

   policiesand state and federallaw,including requirem entsthattesting and treatm entbe m edically

   necessary,providedbyproperly licensed subjectfacilities,and provided in accordancewiththe
   term s ofthe health plans'contracts,including the requirem entto collectco-pays and deductibles.

          4.      Sober hom es,conversely,do notprovide m edicalcare or clinicalservices to their

   residents,butoperate solely asgroup residenceswhereresidentscan livewith asupportnetwork

   of others in recovery. B ecause sober hom es are m erely places to live,they generate incom e to

   eoverexpensesthrough the eollection ofweekly ormonthly rentpaidbytheirresidents,justas
   w ith any otherlandlord-tenantrelationship.

                                                   2
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                 Substance abuse servicesin Florida are governed by the Cûl-lalS.M archm an A lcohol

   and OtherDrug ServicesAct''(the Marchman Act),which recognizesthatSûlslubstance abuse
   im painnentisa disease which affectsthe w hole fam ily and thew hole society and requiresa system

   ofcare thatincludesprevention,intervention,clinicaltreatm ent,and recovery supportservicesthat

   suppol'
         tand strengthen thefamily unit.''Fla.Stat.jj397.301,397.30541). TheM archman Act
   wasenacted to provideforatdcomprehensivecontinuum ofaccessible and qualitysubstanceabuse

   prevention,intervention,clinicaltreatm ent and recovery supportservices in the least restrictive

   environmentwhich prom otes long-tenn recovery while protecting and respecting the rights of

   individuals.''Fla.Stat.j397.30543).
          6.     The M archm an A ct sets forth a dtcom prehensive continuum of accessible and

   quality ...clinicaltreatmentservices,''including,çsintensiveoutpatienttreatment''(1OP),which
   w as a içservice thatprovides individualor group counseling in a m ore structured environm ent,is

   ofhigherintensity and duration than outpatienttreatm ent,and isprovided to individualsw ho m eet

   theplacementcriteriaforthiscomponent.''Fla.Stat.j397.311(26)(a)(6).
                 Allttclinicaltreatm ent''underthe M archm an A ct,including IOP,needsto be $1a

   professionally directed, deliberate,and plalm ed regim en of services and interventions that are

   designed to reduce or elim inate the m isuse ofdrugs and alcoholand prom ote a health,drug-free

   lifestyle.''FlaStat.j397.311(26)(a).
                 Furtherm ore,the M archm an A ctm akesitunlawfulforany person or agency to act

   asasubstaneeabuseservieeproviderunlessitwasproperlylicensed.Fla.Stat.j397.401(1);Fla.
   Admin.Code j65D-300.003(1)(a).
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                                       C om m erciallnsurance

                   B CB S, U H C , Optum , A etna, Hum ana, and Cigna w ere tkhealth care benefit

   programsr''asdefinedbyTitle18,United StatesCode,Section24(b).
             10.   BCB S,U H C,Optllm ,A etna,Hum ana,and Cigna often m ade paym entsdirectly to

   physicians,m edical clinics,or other health care providers,rather than to the beneficiary w ho

   received the health care benefits,item s,and services.Thisoccun'ed when theprovideraccepted

   assignm entofthe rightto paym entfrom the beneficiary.

             11.   To obtain paym entfortreatm entorservicesprovided to a beneficiary,physicians,

   medicalclinics,and otherhealthcareprovidersw ererequired to subm ititem ized claim form sto

   the beneficiary's com m ercial insurmw e plan. The claim form s w ere typically subm itted

   electronically via the intem et- The claim form required certain im portantinform ation,including:

   (a) the beneficiary's name,health insurance claim number (HICN),or other identification
   number;(b)adescriptionofthehealthcarebenefit,item ,orservicethatwasprovidedorsupplied
   tothebeneficiary;(c)thebillingcodesforthebenefit,item,orservice;(d)thedateupon which
   thebenefit,item,orservicewasprovidedorsuppliedto thebeneficiary;and(e)thenameofthe
   refening physician orother hemlth care provider,asw ellas a unique identifying num ber,luzown

   either as the Unique Physician ldentification NumberIUPINIorNationalProviderIdentifier
   @ Pl).
                   W hen a provider subm itted a d aim folqn to a eom m erdal insuranee plan,the

   providercertitied thatthecontents ofthe fonn w eretnle,correct,com plete,and thatthe fonn w as

   prepared in com pliance w ith the applicable laws and regulations. The subm itting provider also

   certified that the services being billed w ere m edically necessary and w ere in fact provided as

   billed.

                                                  4
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                           The T reatm entC enters and R elated Entities

                  Jacob'sW ell,Inc.(Jacob'sW e11)wasa Floridacorporation,located at7950 SW
   30th street, Suite 202,Davie,Florida. Jacob's W ell was a substance abuse treatm entcenter

   licensed with the FloridaDepartm entofChildren and Fam iliesthatpurportedly provided private

   insurance beneficiarieswith substanceabuse treatm entsand services.

                  MediM D,LLC.(M ediM D)wasaFlorida corporation,located at7950 SW 30th
   Street,Suite 200,D avie,Florida. M ediM D w as a substance abuse treatm entcenterlicensed w ith

   the Florida Departm ent of Children and Families thatpurportedly provided private insurance

   beneficiarieswith substance abusetreatm entsand services.

          15.    A rnica H ea1th w asa Florida corporation,located at7950 SW 30thStreet, Suite 202,

   D avie,Florida. Arnica H ealth w as a m edicaltreatm entcenter.

                                           The D efendant

          l6.    D efendant SE BA STIAN A H M ED w as a resident of Brow ard County and Palm

   Beach County,and ChiefExecutive Officerand co-ownerofJacob'sW ell,M ediM D , and A rnica

   Hea1th.

                                              C O U NT 1
                   C onspiracy to C om m itH eaIth C are Fraud and W ire Fraud
                                             (18U.S.C.j1349)
                 Paragraphs l through 16 ofthe GeneralAllegations section ofthis Superseding

   lndictmentarerealleged and incorporated by reference asiffully setforth herein.

          2.     From in oraround June 2016,and continuing through in oraround April2019, in

   Brow ard County,in the Southern D istrictofFlorida,and elsew here,the defendant,

                                      SE BA STIAN A H M E D,

   did willfully,thatis,with the intentto furtherto theobjedsoftheeonspiraey,and knowingly

                                                  5
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   com bine,conspire,confederate,and agree w ith A liA hm ed,H ectorEfrain A lvarez,M auren M orel,

   and others know n and unknow n to the G rand Jury,to com m itoffenses againstthe U nited State,

   thatis:

                         to know ingly and w illfully execute a schem e and artifice to defraud a health

   care benefitprogram affecting com merce,as defined in Title 18,United States Code,Section

   24(b),thatis,BCBS,UHC,Opttzm,Aetna,Humana,and Cigna,and to obtain,by meansof
   m aterially false and fraudulent pretenses,representations and prom ises,m oney and property

   ow ned by,and underthe custody and controlof,said health care benefitprogram s,in comw ction

   w ith the delivered and paym entfor health care benefits,item s,and services,in violation ofTitle

   18,United StatesCode,Section 1347,
                                    .and

                         to knowingly and w ith the intentto defraud,devise and intend to devise a

   schem e and artifice to defraud and for obtaining m oney and property by m eansofm aterially false

   and fraudulentpretenses,representations and prom ises,know ing the pretenses,representations,

   and prom isesw ere false and fraudulentw hen m ade,and forthe purpose of executing the schem e

   and artitice,did know ingly transm itand cause to betransm itted by m eans ofw ire com m unication

   in interstate com m erce,certain w ritings,signs,signals,pictures and sounds,in violation of Title

   18 U nited States Code,Section 1343.

                                PUR PO SE O F TH E C O N SPIM CY

          3.     Itw as the pup ose of the eonspiraey for the defendant and his eo-conspirators to

   unlawfullyenrichthemselvesby,among otherthings:(a)submittingand causingthesubmission
   offalse and fraudulentclaim sto health care benefitprogram svia interstate w ire com m unications;

   (b)concealingthesubmission offalseandfraudulentclaimstohealth carebenefitprograms'
                                                                                    ,(c)
   concealingthereceiptofthefraudproceeds;and(d)divertingthefraudproceedsfortheirpersonal
                                                   6
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   use and benefit,the use and benefitofothers,and to furtherthe fraud.

                        M AN N ER A N D M EA N S O F TH E C ON SPIR ACY

          The m alm er and m eans by which the defendant and his co-conspirators sought to

   accomplishtheobjectsandpurposeoftheconspiracy included,amongothers,thefollowing:
                 SEBA STIA N A H M E D and hisco-conspiratorsestablished Jacob'sW elland M edi

   M D , substance abuse treatm ent centers w hich w ere purportedly in the business of providing

   effective clinical treatm ent selwices for persons suffering from alcohol and drug addiction.

   Defendantsalso established A rnica H ealth,a purported m edicaltreatm entcenter,w hich w as co-

   located with Jacob's W elland M ediM D .

                 SEBA STIAN AH M ED and his co-conspirators established Serenity Living, a

   network ofsoberhom es,which w ere purportedly in the business ofproviding a safe and drug-free

   residence forindividuals suffering from drug and alcoholaddiction.

          6.     To obtain patients for Jacob's W ell,M ediM D ,and A rnica H ealth,and residents

   for Serenity Living, SEBA STIA N A H M ED and his co-conspirators provided kickbacks and

   bribes in the fonn of cash,giftcards,free or reduced rent,paym ent fortravel,and otherbenefits

   to individuals w ith private insurance w ho agreed to attend drug treatm ent,often in the form of

   PHP and/orlOP sessions,andsubmitto drugtesting(typicallytwo ormoretimesperweek),so
   that defendant and his co-conspirators could subm it false and fraudulent insurance claim s for

   services including,but notlimited to,substance abuse treatm entand testing,to the residents'

   private insurance plans.

                 Jacob's W ell and M ediM D did not collect m andatory co-pays,deductibles,and

   othereo-insurance from patients that could cause patients to be unable orunw illing to subm itto

   substance abusetreatm entandtestingand sotheconspiratorscouldinsteadeollectthem ueh larger

                                                  7
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   reim bursem entsfrom theprivateinsurance plans.SEB A STIAN A H M ED and hisco-conspirators

   did notinform the insurance plans that they were not colleding the co-insuranee paym ents as

   required by the tennsofthe insurance plans and by 1aw in the State ofFlorida.

          8.      SEBA STIA N AH M ED and his co-conspirators ordered and caused the ordering

   ofexpensiveurinedrug screensandtestsperform ed byoutsidelaboratories,regardlessofwhether

   such testingwasm edically necessary. Defendantandhisco-conspiratorsreceived kickbacksand

   bribes from em ployeesofthe outside laboratories and others,in return for ordering the urine drug

   screens on behalfofpatientsofJacob'sW ell,M ediM D ,and Arnica H ealth.

          9.     SEBA STIAN AH M ED and his co-conspirators subm itted and caused others to

   subm it,viainterstatewirecommunications,approximately $1,693,276 in claim swhich falsely and
   fraudulently represented thatvarioushealth care benefks,prim arily substance abuse PHP,IOP,

   and OP services,weremedically necessary,prescribed by a dodor,and provided by Jacob'sW ell

   to insurance beneficiariesofA etna,BCBS,Cigna,and U H C.

          10.    A s a result of such false and fraudulent claim s,A etna,BCBS,Cigna,and U HC

   m ade paym ents to the corporate bank accounts of Jacob's W ellin the approxim ate am ount of

   $320,301.
                 SEBA STIAN A H M ED and his co-conspirators subm itted and caused others to

   submit,via interstate wire com munications,approximately $33,773,160 in daim swhich falsely
   andfraudulentlyrepresentedthatvarioushealth carebenefits,primarily substanceabusePHP, IO P,

   and OP services,werem edicallynecessary,prescribed by a doctor,and provided by M ediM D to

   insurance beneticiariesofA etna,BCBS,Cigna,H um ana,and U H C .

          12.    A sa resultof such false and fraudulentclaim s,A etna,BCBS,C igna,H um ana, and

   UHC m ade paymentsto the corporate bank accountsofM ediM D in the approximate amountof

                                                  8
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   $5,528,726.
                 SEBA STIAN AH M ED and his co-conspirators subm itted and caused others to

   subm it,viainterstatewirecomm unications,approximately$2,089,715 in claim swhich falselyand
   fraudulently represented thatvarious health care benetits,prim arily m edicalservices and testing,

   were m edically necessary,prescribed by a doctor,and provided by A rnica H ealth to insurance

   beneficiaries ofBCBS,Cigna,and UH C.

          14.    As a resultof such false and fraudulentclaim s,BCBS,Cigna,and UHC m ade

   paym entstothecorporatebnnk accountsofArnicaHealth intheapproximateam ountof$127,l50.
                 SEBA STIAN A H M E D and his co-conspiratorsused the proceedsofthe fraud for

   theirpersonaluse and benefit,the use and benefitofothers and to furtherthe fraud schem e.

          Al1in violation ofTitle 18,United StatesCode,Section 1349.

                                              C O U NTS 2-11
                                            H ealth C are Fraud
                                             (18U.S.C.j 1347)
                 Paragraphs 1 through 16 of the G eneralA llegations section ofthis Superseding

   Indictm entarerealleged and incom orated by referenceasiffully setforth herein.

                 From in oraround June2016,and continuingthrough in oraround April2019,in

   Brow ard County,in the Southern D istrid ofFlorida,and elsew here,the defendant,

                                      SEBA STIA N A H M ED ,

   in connection with thedelivery ofand paym entforhealth care benefits,item s,and services, did

   knowingly andwillfully execute,and attemptto execute,aschem eand artificeto defraudahealth

   care benefit program affed ing com m erce,as defined in Title 18,U nited States Code, Section

   24(b),thatis,BCBS,UHC,Optum,Aetna,Humana,and Cigna,and to obtain,by means of
   materially false and fraudulentpretenses,representations,and promises,money and property

                                                  9
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   ow ned by,and underthe eustody and controlof said health care benefitprogram s.

                                     Purpose ofthe Schem e and A rtifice

                  ltw as a purpose of the schem e and artifice forthe defendantand his accom plices

   tounlawfullyenrichthemselvesby,amongotherthings:(a)submittingandcausingthesubmission
   offalseand fraudulentclaimsto ahealth carebenefitprogram;(b)concealingthesubmission of
   falseandfraudulentclaimstoahealthcarebenefitprogram;(c)concealingthereceiptofthefraud
   proceeds;and(d)divertingthefraudproceedsfortheirpersonaluseandbenefit,theuseandbenefit
   ofothers,and to furtherthe fraud.

                                       The Schem e and A rtifice

                  The allegations contained in paragraphs 4 through 15 of the M alm er and M eans

   section ofCount1 ofthisSuperseding lndictm entare realleged and incorporated by reference as

   though ftzlly setfol'th herein asa deseription ofthe schem e and artitk e.

                  Actsin Execution or A ttem pted Execution ofthe Sclw m e and A rtifice

                  On oraboutthedatesspecified asto each countbelow,in Broward County, in the

   Southem DistrictofFlorida,and elsewhere,the defendant,

                                       SEBA STIAN A H M ED ,

   in connection with the delivery ofand paym entforhealth care benetits, item s,and services,did

   knowingly and willfully execute,and attemptto execute,theabove-deseribed sehem e and artitk e

   to defraud ahealth carebenefitprogram affectingcommerce,thatis,BCBS, U H C,O ptum ,Aetna,

   Humana, and Cigna, and to obtain, by means of m aterially false and fraudulent pretenses,

   representations,and prom ises,m oney and property ow ned by,and underthe custody and control

   ofsaid health carebenetitprogram s,in thatthedefendantssubmitted and eaused the subm ission

   offalse and fraudulentclaims to BCBS,UHC,Aetna,and Cigna seeking the identified dollar

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    am ounts, and representing that the substance abuse treatm ents centers listed below provided

    m edical treatm ent and services to com m ercialbeneficiaries pursuantto physicians' orders and

   prescriptions'
                .

                      A PPIYX.   c laim        I
    Count Bene.       D ate of                -.ns.    Location      services C laim ed;A pprox.
                      S        N um ber       rlan                       A m ountC laim ed
                       ervice
       2      B.L.    12/24/16 639154844 UHC            Jacob's    A11InclusiveAncillary General
                                    801                 W ell                 (240);$7,800
       3      R .A . 03/23/17 EHFBY P4 Aetna            Jacob's    A CA S D efaultProcedure Code
                                   4M 00                W ell                 (906);$1,575
       4      M .G. 02/07/18 H 1000006 BCBS M ediM D               PartialHospitalization Services,
                             64312348                              Less Than 24 H ours,PerD iem
                                                                              (912);$2,495
       5      K .E. 02/21/18 H 1000006 BCB S M ediM D              PartialH ospitalization Services,
                             64312557                              Less Than 24 H ours,Per D iem
                                                                              (912);$2,495
       6      B.H . 05/22/18 H 1000006 BCBS M ediM D               AlcoholAnd/o rDnlg Services;
                             76250604                              lntensive OutpatientPerD iem
                                                                              (906))$1,795
       7      D.E. 06/04/18 465181729 Cigna M ediM D               AlcoholAnd/orDrug Services;
                              8744                                 lntensive O utpatientPerD iem
                                                                              (906);$1,795
       8      A.A . 06/20/18 868181772 Cigna M ediM D             PartialHospitalization Services,
                               0498                               LessThan 24 H ours,PerD iem
                                                                              (912);$2,495
       9      R.C. 06/29/18 H 1000006 BCBS M ediM D               PartialHospitalization Services,
                            80315660                              Less Than 24 H ours,Per D iem
                                                                              (912);$2,495
      10      M .B . 07/16/18 H 1000006 BCB S M ediM D            PartialH ospitalization Services,
                              83297881                            Less Than 24 H ours,Per D iem
                                                                              (912);$2,495
      11      R.S. 01/01/19 EW Y 03M          A etna M ediM D      ACA S D efaultProcedure Code
                                  617700                                      (913);$2,495


           ln violation ofTitle 18,U nited States Code,Sed ions 1347 and 2.
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                                               C O U NT 12
                             C onspiracy to C om m itM oney Laundering
                                        (18U.S.C.j1956(h))
                  Paragraphs 13 tllrough 16 of the GeneralAllegations section of this Superseding

    lndictm entare realleged and incorporated by reference asiffully setforth herein.

                  From in or around June 2016,and continuing through in or around A pril2019,in

   Brow ard County,in the Southern D istrictofFlorida,and elsewhere,the defendant,

                                       SEBA STIAN A H M ED ,

   did willfully,thatis,with the intentto furtherthe objectsofthe conspiracy,and knowingly
   com bine,conspire,confederate and agree with A liAhm ed and w ith others know n and unknown

   to the Grand Jury,to com m itoffensesunderTitle 18,United StatesCode,Sections 1956 and 1957,

   to '
      wit-

          a.      to knowingly conduct a financial transaction affeding interstate and foreign

   com m eree, w hich financial transaction involved the proeeeds of speeitied unlaw ful ad ivity,

   knowing thattheproperty involved in thefinandialtransaction represented theproceedsofsome

   fonu ofunlaw fulactivity,and know ing thatthe transaction w as designed in w hole and in partto

   concealand disguise the nattlre,the location,the source,the ownership,and the controlofthe

   proceeds of specified unlaw ful activity,in violation of Title 18,United States Code, Section

   1956(a)(1)(B)(i);and
          b.      to knowingly engage in a m onetary transaction by, through, and to a financial

   institution affecting interstate and foreign com m erce,in criminally derived property ofa value

   greaterthan $10,000,such property being derived from specifiedunlawfulactivity,knowing that

   the property involved in the m onetary transadion w as derived from som e form of unlawful

   activity,in violation ofTitle 18,United StatesCode,Section 1957.

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           ltis f'
                 urther alleged thatthe specitied unlaw f'ulactivity is health care fraud,in violation of

    Title 18,U nited States Code,Section 1347,and w ire fraud,in violation ofTitle 18, U nited States

   Code,Section 1343.

           AllinviolationofTitle18,UnitedStatesCode,Sedion 1956(h)
                                            C O UN TS 13-23
                                          M oney Laundering
                                          (18U.S.C.j 1957(a))
           On or aboutthe datesasto eaeh countsetforth below ,in Brow ard County,in the Southem

   DistrictofFlorida,and elsewhere,thedefendant,

                                        SEBA STIA N AH M ED !

   did know ingly engage and attem pt to engage in a m onetary transaction by, through,and to a

   financialinstitution affecting interstate and foreign com m erce in crim inally derived property ofa

   value greater than $10,000,and such propedy having been derived fronA speci/ed unlaMful
   activity,know ing thatthe property involved in the m onetary transadion w as derived from som e

   fonu ofunlawfulactivity,assetforth below:

            A pprox.
    C ount   D ate of                        D escription ofM onetary Transaction
           Transaction
                            $300,000 transferfrom accountnumberending in 0517 in the nam e of
               01/02/18     M ediM D LLC atJP M organ Chase Bank to accountnum berending in
                            3422 in the name ofSebastian Ahmed CPA LLC d/b/a Arnica Health
                            M anagem entCom pany atJP M organ Chase
                            $300,000 transferfrom accountnum berending in 0517 in thename of
               01/16/18     M ediM D LLC atJP M organ ChaseBank to accountnum berending in
                            3422 in the name ofSebastian Ahmed CPA LLC d/b/a Arnica Health
                            M anagem entCom pany atJP M organ Chase
                            $100,000 transferfrom accountnumberending in 0517 in the nam e of
               02/20/18     M ediM D LLC atJP M organ ChaseBank to accountnumberending in
                            3422 in the nam e ofSebastian Ahmed CPA LLC d/b/a Arnica Health
                            M anagem entCom pany atJP M organ Chase
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    C ount    A pprox.                     D escription ofM onetary Transaction
               D ate of
             Transaction
                            $180,000 transferfrom accountnumberending in 0517 in the nam e of
               03/12/18     M ediM D LLC atJP M organ ChaseBarlk to accountnum berending in
                            3422 in the nam e of Sebastian Ahmed CPA LLC d/b/a Arnica Hea1th
                            M anagem entCom pany atJP M organ Chase
                            $125,000 transferfrom accountnumberending in 0517 in the nam e of
               04/02/18     M ediM D LLC atJP M organ Chase Bank to accountnumberending in
                            3422 in the nam e of Sebastian Ahm ed CPA LLC d/b/a A nzica H ealth
                            M anagem entCom pany atJP M organ Chase
                            $125,000 transferfrom accountnum berending in 0517 in thename of
      18       04/19/18     M ediM D LLC atJP M organ Chase Bank to accountnum berending in
                            3422 in the nam e of Sebastian A hm ed CPA LLC d/b/a A rnica H ea1th
                            M anagem entCom pany atJP M organ Chase
                            $100,000 transferfrom accountnumberending in 0517 in the nam e of
      19       08/09/18     M ediM D LLC atJP M organ Chase Bank to accountnum berending in
                            3422 in the nam e of Sebastian Ahm ed CPA LLC d/b/a Arnica Health
                            M anagem entCom pany atJP M organ Chase
                            $100,000 transferfrom accountnumber ending in 0517 in the nam e of
      20       08/22/18     M ediM D LLC atJP M organ Chase Bank to accountnumberending in
                            3422 in the name ofSebastian Ahm ed CPA LLC d/b/a Arnica Health
                            M anagem entCom pany atJP M organ Chase
                            $400,000 wiretransferfrom accountnumberending in 9528inthenam e
               10/09/18     ofAhmed Family lnvestments atSunTrustBank to M organ,Olsen &
                            Olsen,LLP IO TA
                            $250,000 transferfrom accountnumberending in 3422 in the name of
                           Sebastian A hm ed CPA LLC d/b/aA rnica H ealth M anagem entCom pany
      22       10/24/18    atJP M organ ChaseBank to accountnumberending in 1959 inthenam e
                           of Sebastian Ahmed CPA LLC d/b/a Anlica Health M anagement
                           Com pany atJP M organ Chase B ank
                            $1,100,000 wire transfer from accountnumber ending in 3422 in the
      23       04/04/19    nam e ofSebastian Ahmed CPA LLC d/b/a ArnicaHea1th M anagement
                           Com pany at JP M organ Chase to Toronto D om inion Bank account
                           numberendingin 2418 in thenam eofSebastian Ahm ed

           ltisfurtherallegedthatthe specifiedunlawfulactivity ishealth carefraud, in violation of

   Title 18,U nited StatesCode,Section 1347,and w ire fraud,in violation of Title 18, United States

   Code,Section 1343.

           lnviolationofTitle 18,UnitedStatesCode,Sections1957(a)and2.

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                                           FO R FE ITU R E
                                   (18U.S.C.5982(a)(1),(a)(7))
                 The allegations contained in this Superseding lndictm entare hereby realleged by

   thisreferenee fully incorporated herein forthe purpose ofalleging forfeitureto theUnited States

   ofAm erica ofcertain property in w hich the defendant,SEBASTIA N A H M ED , hasan interest.

                 Upon conviction of a violation ofTitle 18,United StatesCode,Section 1347 or

    1349,asalleged inthisSuperseding lndictm ent,thedefendantshallforfeitto theUnited Statesany

   property,realorpersonal,thatconstitutesorisderived,directly orindirectly,from grossproceeds

   traeeable to the com m ission of such violation,pursuantto Title 18,U nited States Code, Section

   982(a)(7).
                 Upon a conviction ofaviolation ofTitle 18,United States Code,Sedion 1956 or

   1957,asalleged inthisSuperseding lndictm ent,thedefendantshallforfeitto theUnited Statesany

   property,realorpersonal,involved in such offense,orany property traceable to such property.

          4.     Theproperty subjecttoforfeitureincludes,butisnotlimitedto,thefollowing:
                     thesum ofatleast$5,915,849inUnited Statescurreney,which am ountisequal
                     to the grossproceedstraceable to the comm ission ofthe violationsalleged in

                    thisSuperseding lndictment,which the United Stateswillseek asa forfeiture

                    moneyjudgmentaspartofthedefendant'ssentence,
                                                               '
                 b. Realproperty located at3021NE 55thPlaceFortLauderdale, Florida 33308)

                    Allfundsondepositin aeeountnumber989095464135heldatBank ofAm eriea

                    in the nam e ofM ediM D LLC;

                    Allfunds on depositin accountnum ber 898220517 held atJP M organ Chase

                    Bank in the nam e ofM ediM D LLC;


                                                 15
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                 e. Allfundson depositin accountnumber3726601959 held atJP M organ Chase

                       Bank in the nam e of Sebastian Ahm ed CPA LLC d/b/a Arnica H ealth System s

                       M anagem ent;and

                       A llfunds on depositin accountnum ber 990553422 held atJP M organ C hase

                       Bank inthenam eofSebastian Ahmed CPA LLC d/b/aArnicaHea1th Systems

                       M anagem ent.

                          lftheproperty deseribedaboveasbeing subjed to forfeiture,asaresultof
              any actorom ission ofthe defendants,

                 (a)      cannotbelocatedupontheexerciseofduediligence;
                 (b)      hasbeentransferredorsoldto,ordepositedwithathirdperson;
                          hasbeenplacedbeyondthejurisdidion oftheCourt;
                          has been substantially dim inished in value;or

                          hasbeen comm ingledWith otherproperty which calmotbesubdivided

                 w ithoutdifficulty;

   itistheintentoftheUnited States,pursuantto Title21,United StatesCode,Section 853(p),to
   seek forfeiture of any otherproperty ofthe defendantup to the value ofthe above forfeitable

   property and,in addition,to seek a courtorderrequiringthe defendantsto return any such property

   tothejurisdictionofthecourtforseizureandforfeiture.




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             Allpursuantto Title 18,United States Code,Section 982(a)(1) and (a)(7);and the
    proceduressetforth atTitle 21,U nited States Code,Section 853,as m ade applicable by Title 18,

    United StatesCode,Section 982(b)(1).
                                                             A TRU E B ILL




                                                             FOREPkRSOV


       t                 D
    A RIAN A FA JA RD O O RSHA N
    UN ITED STATES A TTO RN EY



    CH RIS      P     J. LA RK
    ASSJS NT UNITED STATESATTORNEY
                 r



    LISA            ER
    A SSIS     N T UN ITED STATES A TTORN EY
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                                            UNITED STATES DISTRICT COU RT
                                           SO UTH ERN DISTRICT OF FLORIDA

UNITED STATES OF AM ERICA                               CASE NO.l9-60200-CR-FAM (s)

                                                        C ERTIFICATE O F TRIAL ATTO RNEY*
Sebastian A hm ed,
                                                        Superseding Case lnform ation:
                            Defendant.         l
CourtDivision:(selectOne)                               New defendanttsl          Yes
       M iami             Key W est                     Numberofnew defendants          - 0-
       FTL                W PB           FTP            Totalnumberofcounts             '-2-J-

                lhave carefully considered the allegationsofthe indictment,thenumberofdefendants, the numberof
                probable witnessesand the legalcomplexitiesofthe Indictm ent/lnformation attached hereto.
                Iam aware thatthe information supplied on this statem ent willbe relied upon by the Judges ofthis
                Coul'
                    tin setting their calendarsand scheduling crim inaltrials underthe mandate ofthe Speedy Trial
                Act,Title28 U.S.C.Section 3161.
                lnterpreter:     (YesorNo)         No
                Listlanguage and/ordialect
       4.       Thiscasewilltake 8 daysforthepartiesto try.
                Pleasecheck appropriatecategory and typeofoffense listed below:
                (Checkonlyone)                                 (Checkonlyone)

       I        0to5days                                       Petty
       11       6 to 10 days                   /               M inor
       llI      11 to 20 days                                  M isdem .
       IV       21to 60 days                                   Felony             z
       V        61daysand over
       6.       HasthiscasepreviouslybeentiledinthisDistrictCourt?              (YesorNo)        No
        lfyes:Judge                                     CaseNo.
        (Attachcopyofdispositiveorder)
        Hasacomplaintbeentiledinthismatter?             (YesorNo)        NO
        lfyes:M agistrateCaseNo.
        Related m iscellaneousnumbers:
        Defendantts)infederalcustodyasof
        Defendantts)instatecustodyasof
        Rule20 from theDistrictof
        lsthisapotentialdeathpenaltycase?(YesorNo)                No
                Doesthiscaseoriginatefrom amatterpending in theCentralRegion ofthe U .S.Attorney'sOffice
                priortoAugust9,2013(M ag.JudgeAlicia0.Valle)?                   Yes              No /
        8.      Doesthiscaseoriginatefrom a matterpending in theNorthern Region U .S.Attorney'sOffice
                priortoAugust8,2014(M ag.JudgeShaniekMaynard)?                  Yes              No ?'



                                                               CHRIST P R J.CLARK
                                                               ASSISTANT UNITED STATES ATTORNEY
                                                               CourtNo.0588040
 #penaltySheetts)attached                                                                                REV 5/13/2015
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                             UN IT ED STA TES DISTR IC T CO UR T
                             SO U TH ER N DISTR ICT O F FLO R IDA

                                        PEN ALTY SH EET

    Defendant's Nam e: SEBA STIA N AH M ED

    CaseNo:19-60200-CR-M ORENO(s)
    Count#:1

    Conspiracv to Com m itHea1th Care Fraud and W ire Fraud

    Title 18,United StatesCode,Section 1349

    *M ax.Penalty:       Twenty(20)YearsImprisonment
    Counts#:2-11

    H ea1th Care Fraud

    Title 18.United States CodesSection 1347
                                 -             --




    *M ax.Penalty:       Ten (10)Yearslmprisonmentastoeach count
    Count#12

    Ccm spiracy to Com m itM oney LaunderinM

    Title 18mUnited StatesCode.Section 1956(h)

    *M ax.Penalty:       Twenty(20)Yearslmprisonment
    Counts #:13-23

    M oney Launderinc

    Title 18,United StatesCode.Section 19574a)

    *M ax.Penalty:       Ten (10)Yearslmprisonmentastoeach count


    Wltefers only to possible term ofincarceration,doesnotinclude possible fines,restitution,
    specialassessm ents,parole term s,or forfeitures that m ay be applicable
